Case 3:17-cv-06779-RS Document 196-3 Filed 01/25/19 Page 1 of 4




                 EXHIBIT B
        Case 3:17-cv-06779-RS Document 196-3 Filed 01/25/19 Page 2 of 4



 1 LTL ATTORNEYS LLP
   Enoch H. Liang (SBN 212324)
 2 601 Gateway Boulevard, Suite 1010

 3 South San Francisco, California 94080
   Tel: 650-422-2130
 4 Fax: 213-612-3773
   enoch.liang@ltlattorneys.com
 5
   James M. Lee (SBN 192301)
 6 Caleb H. Liang (Bar No. 261920)

 7 300 S. Grand Ave., 14th Floor
   Los Angeles, California 90071
 8 Tel: 213-612-8900
   Fax: 213-612-3773
 9 james.lee@ltlattorneys.com
   caleb.liang@ltlattorneys.com
10

11 HUNG G. TA, ESQ. PLLC
   Hung G. Ta
12 JooYun Kim
   250 Park Avenue, 7th Floor
13 New York, New York 10177
   Tel: 646-453-7288
14
   hta@hgtlaw.com
15 jooyun@hgtlaw.com

16
                               UNITED STATES DISTRICT COURT
17
                         NORTHERN DISTRICT OF CALIFORNIA
18
                                                  Master File No. 17-cv-06779-RS
19 IN RE TEZOS SECURITIES LITIGATION
                                                  CLASS ACTION
20

21 This document relates to:                      DECLARATION OF ARTIOM FRUNZE
                                                  IN SUPPORT OF MOTION TO BE
22         ALL ACTIONS.                           APPOINTED LEAD PLAINTIFF
23                                                         March 7
                                                  Date: ____________, 2019
                                                  Time: 1:30 p.m.
24
                                                  Crtrm: 3
25
                                                  Judge: Hon. Richard Seeborg
26

27

28


                                  DECLARATION OF ARTIOM FRUNZE
                                       NO. 3:17-CV-06779-RS
         Case 3:17-cv-06779-RS Document 196-3 Filed 01/25/19 Page 3 of 4



 1           I, ARTIOM FRUNZE, declare as follows pursuant to 28 U.S.C. § 1746:
 2           1.         I respectfully submit this Declaration in support of Plaintiffs’ Motion to Withdraw
 3 Lead Plaintiff and Substitute New Lead Plaintiff, filed in the above-captioned action.

 4           2.         I am a named plaintiff in this lawsuit and have reviewed the Consolidated Class Action
 5 Complaint filed in this lawsuit on April 3, 2018 (Dkt. No. 108), as amended pursuant to the

 6 stipulations and orders entered on November 21, 2018 (Dkt. No. 183) and January 7, 2019 (Dkt No.

 7 186).

 8           3.         I am willing to serve as Lead Plaintiff either individually or as part of a group. I
 9 understand that the Lead Plaintiff is a representative party who acts on behalf of other class members

10 in directing the litigation. I understand and accept the responsibilities and obligations of serving as a

11 Lead Plaintiff, which include providing testimony at deposition and trial, if necessary. I am willing

12 to oversee the vigorous prosecution of this litigation.

13           4.         I invested in the Tezos Initial Coin Offering (the “Tezos ICO”), which was held in
14 July 2017. The dates and amounts of my investments, as well as the number of Tezos tokens (XTZ)

15 that I was promised, were as follows:

16                      Investment                  Trade Date           Amount of XTZ Promised
17                        20 ETH                    July 2, 2017                  13,953.72
18                        98 ETH                    July 2, 2017                  68,716.62
19
                          120 ETH                   July 3, 2017                  82,937.04
20

21
             5.         I did not purchase the Tezos tokens at the direction of counsel or in order to participate
22
     in this lawsuit.
23
             6.         I will not, either directly or indirectly, accept any payment for serving as a
24
     representative party on behalf of the Class beyond my pro rata share of any recovery, except such
25
     reasonable costs and expenses (including lost wages) directly relating to the representation of the
26
     Class, as approved or ordered by the Court.
27

28

                                                            1
                                         DECLARATION OF ARTIOM FRUNZE
                                              NO. 3:17-CV-06779-RS
         Case 3:17-cv-06779-RS Document 196-3 Filed 01/25/19 Page 4 of 4



 1          7.      I have not sought to serve, and have not served, as a representative party in any other
 2 class action filed under the federal securities laws within the last three years.

 3          I declare under penalty of perjury under the laws of the United States of America that the
 4 foregoing statements relating to me are true and correct to the best of my knowledge.

 5                        22nd day of January, 2019 at Richlands, Australia.
            Executed this ___
 6

 7                                                          ___________________________________
 8                                                          ARTIOM FRUNZE
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                        2
                                     DECLARATION OF ARTIOM FRUNZE
                                          NO. 3:17-CV-06779-RS
